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January 6, 2022

Hon. William F. Kuntz, II
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 10007

Re: Artec Europe S.À.R.L. v. Shenzhen Creality 3D Tech. Co., Ltd, et al.
Case No.: 1:22-1676 (WFK)(VMS)

Dear Judge Kuntz,

This firm represents Defendant Shenzhen Creality 3D Tech. Co. Ltd, (“Creality”) in the above-
captioned matter.

Pursuant to Section I(C)(5) of the Court’s Individual Rules, we write to respectfully ask
that the Court extend Creality’s deadline to answer or otherwise move with respect to its Answer
to Defendant-Crossclaimant Kickstarter, PBC (“Kickstarter”) Crossclaim from January 9, 2022,
to January 23, 2022. Further, we respectfully request that the court extend the deadline for
Creality and Kickstarter to file a joint proposed schedule, with respect to the cross-claim, from
January 23, 2022 to February 6, 2022. The reason for this request is the Creality and
Kickstarter are engaged in discussions that could resolve Kickstarter’s crossclaim against
Creality.

This is Creality’s first such request for the extension of these deadlines, and there have been
no other requests for extensions of these deadlines. Kickstarter consents to Creality’s request
and Plaintiff Artec Europe S.A.R.L. does not object to Creality’s request.

We thank the Court for its consideration of this request.

Respectfully submitted,

/s/ Michael S. DeVincenzo

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Copy to: All counsel via ECF

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